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APPENDIX IV
° TAB Z
 

 

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Introduction

Science is a particular way of
knowing about the world. In
scicnec, explanations are limited to
those based on observations and
experiments that can be
substanuated by other scientists,
Explanations that cannot be based
on émpitical evidence arc mot a part
of sclence,

Tn the quest for
understanding, science involves a
great deal of careful observation
that eventually produces an
elaborate wrillen description of the
natural world. Scientists
communicate theit tindings and
conclusions to other scientists
through publications, talks at
conferences, nalhway
conversations, and many «her
means. Other scientists then test
those ideas and build on preexisting
work. In this way, the accuracy and
sophistication of descriptions of the
natural world tend to increase with
time, as subsequent generations of
seicntisls comect and extend the
work done by their predecessors.

 

Progress in sctence consists of the development of better explanations for the causes of natural
phenomena. Scientists never can be sure that a piven explanation is complete and final. Some of
the hypotheses advanced by scientists tum out to be incorrect when tested by further observations
or cxpenments, Yel many scientific explanations have been so (horouchly tested and conlimmed
that they are held with great confidence.

The theory of evolution is one of these well-established explanations. An cnonnous amount of
sciemlilic mryestigalion since the mid-'9ih century has converted early ideas about evolution
proposed by Darwin and others into a strong and well-supported theory. Today, evolution is an
extremely active field of research, with an abundance of new discoverics that are continually
increasing our understanding of how evolution occurs.

This booklet considers the science that supports the theory of evolution, focusing on three
categories of scientific evidence:
 

 

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« Evidence for the origins of the universe, Liarth, and life

e Evidence for biological evolution, including findings from palcontology, comparative
anatomy, biogeography, embryclogy, and molecular biology

« Evidence for human evolution

At the end of each of these sections, the positions held by advocates of "creation science" are

briefly presented and analyzed as well.

The theory of evolution has become the central unifying conecpl of biclogy and is a critical
component of many related scientific disciplines, In contrast, the claims of creation science Jack
empitical support and cannot be meaningfully iesied. These observations lead to two fundamental
conclustons: the teaching of evolution should be an integral part of science instruction, and creation
science is in [act not science and should not be presented as such in science classes.

 

Terms Used in Describing the Nature of Science:

Fuet: In science, an observation thal
has been repeatedly conlimmed and
for all practical purposes is accepted
as “true.” ‘Truth in science, however,
is never final, and what is accepted
as a fact today may be modified or
even discarded tomorrow.

Hypothesis: A tentative statement
about the natural world leading to
deductions that can be tested. If the
deductions are verified, the
hypothesis is provisionatly
corroborated. Ifthe deductions are
incorrect, the original hypothesis ts
proved false and must be abandoned
or moditied. Hypotheses can be
used to build more complex
inferences and explanations.

Law: A descriptive eeneralizalion
about how some aspect of the
nilural world behaves under stated
circumstances.

Theory: In science, a well-
substantiated explanation of some
aspect of the natural world that can
incorporate facts, laws, inferences,
and tested hypotheses.

The contention that evolution should
be taught as a “theory, not as a Lact"
confuses the common use of these
words with the scientific use. In
science, theories do oot turn into
facts through the accumulation of
evidence. Rather, theories are the
end points of science, They are
understandings that develop [rom
extensive observation,
experimentation, and crealive
reflection. They incorporate a large
body of scientific facts, laws, lsted
hypotheses, and logical inferences.
In this sense, eyolution is one of the
stronpest and most useful scientific
theories we have.

 

“Adapted from Teaching About
Evolution and ihe Nature af detence
by the National Academy of
 

 

 

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Sciences (Washington, 1.€.:
National Academy Press, 1998}.

 

   
